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    IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                        TENNESSEE WESTERN DIVISION
______________________________________________________________________________

SUSAN WRIGHT                                   )
                                               )
       Plaintiff,                              )
                                               )
vs.                                            )       Civ. No. -07-2503-B/P
                                               )
PROGRESSIVE DIRECT INSURANCE                   )
COMPANY, ET AL                                 )
                                               )
       Defendant.                              )
                                               )



     NOTICE OF FILING MEDICAL BILLS PURSUANT TO T.C.A. §24-5-113 TO
               ESTABLISH PRESUMPTION OF REASONABLENESS
_________________________________________________________________________________

       COMES NOW the Plaintiff, by and through counsel, and submits the following:

TO:    Mr. Nicholas Bragorgos
       81 Monroe Ave.
       Sixth Floor
       Memphis, TN 38103-5402

       Pursuant to T.C.A. §24-5-113, Plaintiff hereby gives notice of filing and service of the

attached medical bills incurred by the Plaintiff in this cause along with the itemization of said

medical bills. The bills are filed and served more than ninety (90) days prior to the date of trial as

required, and are entitled to the statutory presumption of reasonableness. Any party desiring to rebut

the presumption must serve notice of intent to do so at least forty-five (45) days prior to trial.




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       RESPECTFULLY SUBMITTED this the 24th day of August, 2007.

                                                BY: _/s/ Jason G. Whitworth__________________
                                                   JASON G. WHITWORTH, #017615
                                                   LAW OFFICE OF JASON G. WHITWORTH
                                                   202 S. Cooper Street
                                                   Suite 4
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                                                   (901) 729-9999/telephone
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                                                   Attorney for Plaintiffs

                                                    NAHON, SAHAROVICH & TROTZ, PLC
                                                    DAVID W. HILL
                                                    488 South Mendenhall
                                                    Memphis, TN 38117
                                                    (901) 683-2751/telephone
                                                    (901) 462-3350/fax

                                                    Attorneys for Plaintiffs


                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing document has been delivered by
United States Mail, postage prepaid, this 24thday of August, 2007, to the following:

Mr. Nicholas Bragorgos
81 Monroe Ave.
Sixth Floor
Memphis, TN 38103-5402

                                                    _/s/ Jason G. Whitworth____________________




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